Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 1 of 150 Page ID
                                  #:83273
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 2 of 150 Page ID
                                  #:83274
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 3 of 150 Page ID
                                  #:83275
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 4 of 150 Page ID
                                  #:83276
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 5 of 150 Page ID
                                  #:83277
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 6 of 150 Page ID
                                  #:83278
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 7 of 150 Page ID
                                  #:83279
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 8 of 150 Page ID
                                  #:83280
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 9 of 150 Page ID
                                  #:83281
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 10 of 150 Page ID
                                  #:83282
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 11 of 150 Page ID
                                  #:83283
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 12 of 150 Page ID
                                  #:83284
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 13 of 150 Page ID
                                  #:83285
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 14 of 150 Page ID
                                  #:83286
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 15 of 150 Page ID
                                  #:83287
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 16 of 150 Page ID
                                  #:83288
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 17 of 150 Page ID
                                  #:83289
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 18 of 150 Page ID
                                  #:83290
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 19 of 150 Page ID
                                  #:83291




                   EXHIBIT 13
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 20 of 150 Page ID
                                  #:83292
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 21 of 150 Page ID
                                  #:83293
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 22 of 150 Page ID
                                  #:83294
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 23 of 150 Page ID
                                  #:83295
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 24 of 150 Page ID
                                  #:83296




                   EXHIBIT 14
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 25 of 150 Page ID
                                  #:83297
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 26 of 150 Page ID
                                  #:83298
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 27 of 150 Page ID
                                  #:83299
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 28 of 150 Page ID
                                  #:83300
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 29 of 150 Page ID
                                  #:83301
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 30 of 150 Page ID
                                  #:83302
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 31 of 150 Page ID
                                  #:83303
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 32 of 150 Page ID
                                  #:83304
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 33 of 150 Page ID
                                  #:83305
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 34 of 150 Page ID
                                  #:83306
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 35 of 150 Page ID
                                  #:83307
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 36 of 150 Page ID
                                  #:83308
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 37 of 150 Page ID
                                  #:83309
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 38 of 150 Page ID
                                  #:83310
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 39 of 150 Page ID
                                  #:83311




                   EXHIBIT 15
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 40 of 150 Page ID
                                  #:83312
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 41 of 150 Page ID
                                  #:83313
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 42 of 150 Page ID
                                  #:83314
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 43 of 150 Page ID
                                  #:83315
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 44 of 150 Page ID
                                  #:83316
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 45 of 150 Page ID
                                  #:83317
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 46 of 150 Page ID
                                  #:83318
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 47 of 150 Page ID
                                  #:83319
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 48 of 150 Page ID
                                  #:83320
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 49 of 150 Page ID
                                  #:83321
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 50 of 150 Page ID
                                  #:83322
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 51 of 150 Page ID
                                  #:83323
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 52 of 150 Page ID
                                  #:83324
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 53 of 150 Page ID
                                  #:83325
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 54 of 150 Page ID
                                  #:83326
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 55 of 150 Page ID
                                  #:83327
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 56 of 150 Page ID
                                  #:83328
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 57 of 150 Page ID
                                  #:83329
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 58 of 150 Page ID
                                  #:83330
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 59 of 150 Page ID
                                  #:83331
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 60 of 150 Page ID
                                  #:83332
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 61 of 150 Page ID
                                  #:83333
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 62 of 150 Page ID
                                  #:83334
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 63 of 150 Page ID
                                  #:83335
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 64 of 150 Page ID
                                  #:83336
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 65 of 150 Page ID
                                  #:83337
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 66 of 150 Page ID
                                  #:83338
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 67 of 150 Page ID
                                  #:83339
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 68 of 150 Page ID
                                  #:83340
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 69 of 150 Page ID
                                  #:83341
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 70 of 150 Page ID
                                  #:83342




                   EXHIBIT 16
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 71 of 150 Page ID
                                  #:83343
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 72 of 150 Page ID
                                  #:83344
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 73 of 150 Page ID
                                  #:83345
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 74 of 150 Page ID
                                  #:83346
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 75 of 150 Page ID
                                  #:83347
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 76 of 150 Page ID
                                  #:83348
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 77 of 150 Page ID
                                  #:83349
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 78 of 150 Page ID
                                  #:83350
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 79 of 150 Page ID
                                  #:83351
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 80 of 150 Page ID
                                  #:83352
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 81 of 150 Page ID
                                  #:83353
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 82 of 150 Page ID
                                  #:83354
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 83 of 150 Page ID
                                  #:83355




                   EXHIBIT 17
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 84 of 150 Page ID
                                  #:83356
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 85 of 150 Page ID
                                  #:83357
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 86 of 150 Page ID
                                  #:83358
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 87 of 150 Page ID
                                  #:83359
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 88 of 150 Page ID
                                  #:83360
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 89 of 150 Page ID
                                  #:83361
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 90 of 150 Page ID
                                  #:83362
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 91 of 150 Page ID
                                  #:83363
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 92 of 150 Page ID
                                  #:83364
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 93 of 150 Page ID
                                  #:83365
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 94 of 150 Page ID
                                  #:83366
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 95 of 150 Page ID
                                  #:83367
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 96 of 150 Page ID
                                  #:83368
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 97 of 150 Page ID
                                  #:83369
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 98 of 150 Page ID
                                  #:83370
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 99 of 150 Page ID
                                  #:83371
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 100 of 150 Page ID
                                   #:83372
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 101 of 150 Page ID
                                   #:83373
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 102 of 150 Page ID
                                   #:83374
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 103 of 150 Page ID
                                   #:83375
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 104 of 150 Page ID
                                   #:83376
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 105 of 150 Page ID
                                   #:83377
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 106 of 150 Page ID
                                   #:83378
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 107 of 150 Page ID
                                   #:83379
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 108 of 150 Page ID
                                   #:83380
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 109 of 150 Page ID
                                   #:83381
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 110 of 150 Page ID
                                   #:83382
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 111 of 150 Page ID
                                   #:83383
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 112 of 150 Page ID
                                   #:83384
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 113 of 150 Page ID
                                   #:83385
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 114 of 150 Page ID
                                   #:83386
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 115 of 150 Page ID
                                   #:83387
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 116 of 150 Page ID
                                   #:83388
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 117 of 150 Page ID
                                   #:83389
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 118 of 150 Page ID
                                   #:83390
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 119 of 150 Page ID
                                   #:83391
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 120 of 150 Page ID
                                   #:83392
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 121 of 150 Page ID
                                   #:83393
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 122 of 150 Page ID
                                   #:83394
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 123 of 150 Page ID
                                   #:83395
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 124 of 150 Page ID
                                   #:83396
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 125 of 150 Page ID
                                   #:83397
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 126 of 150 Page ID
                                   #:83398
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 127 of 150 Page ID
                                   #:83399
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 128 of 150 Page ID
                                   #:83400
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 129 of 150 Page ID
                                   #:83401
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 130 of 150 Page ID
                                   #:83402
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 131 of 150 Page ID
                                   #:83403
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 132 of 150 Page ID
                                   #:83404
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 133 of 150 Page ID
                                   #:83405
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 134 of 150 Page ID
                                   #:83406
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 135 of 150 Page ID
                                   #:83407
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 136 of 150 Page ID
                                   #:83408
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 137 of 150 Page ID
                                   #:83409
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 138 of 150 Page ID
                                   #:83410
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 139 of 150 Page ID
                                   #:83411
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 140 of 150 Page ID
                                   #:83412
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 141 of 150 Page ID
                                   #:83413
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 142 of 150 Page ID
                                   #:83414
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 143 of 150 Page ID
                                   #:83415
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 144 of 150 Page ID
                                   #:83416
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 145 of 150 Page ID
                                   #:83417
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 146 of 150 Page ID
                                   #:83418
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 147 of 150 Page ID
                                   #:83419
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 148 of 150 Page ID
                                   #:83420
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 149 of 150 Page ID
                                   #:83421
Case 2:04-cv-09049-DOC-RNB Document 3848-5 Filed 05/28/08 Page 150 of 150 Page ID
                                   #:83422
